Cleveland Adolph Mayer Realty Corporation, Petitioner, v. Commissioner of Internal Revenue, RespondentCleveland Adolph Mayer Realty Corp. v. CommissionerDocket No. 6104United States Tax Court6 T.C. 730; 1946 U.S. Tax Ct. LEXIS 232; April 16, 1946, Promulgated *232 Decision will be entered under Rule 50.  1. During the taxable years the petitioner paid interest upon its debenture bonds which had been issued by it in connection with a reorganization of corporations effected in 1938.  Held, that the interest paid is a legal deduction from gross income.2. Prior to 1940 depreciation on the building owned by the petitioner was taken at the rate of 3 percent per annum, except that no depreciation was claimed or allowed for a period of 3 1/2 years.  Respondent has determined, and the petitioner concedes, that depreciation suffered was at a rate of only 2 percent per annum. Respondent insists, however, that the allowable depreciation for the 3 1/2 years for which no depreciation was taken should be at the rate of 3 percent.  Held, that depreciation for such period was sustained at a rate of 2 percent rather than 3 percent.  Mutual Fertilizer Co., 5 T. C. 1122, followed.  Irvin N. Loeser, Esq., for the petitioner.W. W. Kerr, Esq., for the respondent.  Smith, Judge.  Disney, J., concurs only in the result.  Hill, J., dissenting.  SMITH *730  This proceeding involves deficiencies in petitioner's income tax for the years 1940, 1941, and 1942 in the respective amounts of $ 2,807.45, $ 3,912.26, and $ 4,596.36.  The questions in issue are whether petitioner is entitled to deduct payments of interest on its debentures, and whether the Commissioner has correctly determined its depreciation deductions on a building which was under lease during the taxable years.The parties have filed a lengthy stipulation of facts, with numerous exhibits thereto attached.  The petitioner has also offered the *731  testimony of two witnesses.  We include the stipulation and exhibits in our findings of fact by reference.FINDINGS OF FACT.Petitioner is a corporation, organized under the laws of the State of Ohio on July 6, 1938.  It filed its income tax returns for the taxable years involved with*234  the collector of internal revenue for the eighteenth district of Ohio, at Cleveland.Petitioner is the successor of the Adolph Mayer Realty Co., hereinafter referred to as the old company, which was also an Ohio corporation, organized in May 1915.The old company was organized primarily to take title to a parcel of improved real estate located at 2025 Ontario Street, Cleveland, Ohio.  This property had formerly been owned by Adolph Mayer.  After his death, which occurred in 1906, it passed under his will in trust to his 6 grandchildren, to be distributed to them in fee when the youngest became 21 years of age.  All of the surviving grandchildren had become 21 years of age in 1915 when the old company was organized.  The stock of that company was all issued to them in exchange for their interests in the property.The owners of the property had erected a building on the premises in 1915 at a cost of $ 131,565.96.  In that year the property was leased to the May Department Stores Co. for a term beginning April 28, 1915, and ending April 28, 1936.Under its articles of incorporation, and the provisions of section 8648 of the General Code of Ohio, the old company's charter was to expire*235  on May 11, 1939.Shortly prior to September 8, 1938, all of the stockholders of the old company executed a written agreement as a corporate minute whereby it was agreed that the land owned by the company had a fair value of at least $ 250,000, exclusive of buildings and improvements, and that "in view of the approaching expiration" of its charter the stockholders of the old company should cooperate in the formation of the petitioner and:* * * upon the organization of such new corporation, to transfer unto said new corporation all of their shares of capital stock of The Adolph Mayer Realty Company in exchange for stock and/or securities in such new corporation in the same proportions among us as are our present holdings of the capital stock of The Adolph Mayer Realty Company and so that immediately after such exchange we shall be in control of said new corporation and (as among us) proportionately as aforesaid.The petitioner having been organized as first above related, its incorporators entered an order as follows:The undersigned, being all of the incorporators of Cleveland Adolph Mayer Realty Corporation, an Ohio corporation, do hereby order that books be opened *732  for *236  subscriptions to the capital stock and Debentures authorized to be issued by this corporation, said books to be opened at 800 National City Bank Building, Cleveland, Ohio, on the 30th day of August, 1938 at 1:00 o'clock P. M.  The capital stock of the corporation shall be subscribed for at Two Dollars ($ 2.00) per share and the Debentures at par, provided, however, that said subscriptions may be upon condition that they shall be considered fully paid by the transfer and surrender to this corporation (in exchange for said shares and Debentures) of all of the issued and outstanding shares of stock of another Ohio corporation known as The Adolph Mayer Realty Company, the shares and Debentures of this corporation to be subscribed for proportionately by the owners and holders of the said issued and outstanding shares of capital stock of The Adolph Mayer Realty Company according to their holdings of the shares of said last mentioned company, it being understood and agreed by the incorporators of Cleveland Adolph Mayer Realty Corporation that all of the issued and outstanding shares of capital stock of said The Adolph Mayer Realty Company had a value in excess of the aggregate subscription*237  price of the shares and Debentures authorized to be issued by this corporation and to be subscribed for as aforesaid.The owners of all of the issued and outstanding shares of capital stock of the old company thereupon subscribed for 300 shares of the capital stock of the petitioner and for its debentures "in the aggregate principal amount" of $ 210,000, to be paid for in the manner provided in the above quoted order of the incorporators.  The stock of the old company was thereupon transferred to the petitioner and the latter's stock and debentures were issued accordingly.On September 8, 1938, the boards of directors and stockholders of the old company and the petitioner authorized an "Agreement of Merger and Consolidation" which was filed in the office of the Secretary of State of Ohio on September 10, 1938.  The "Certificate of Consolidation" recited that "all of the voting power" of each corporation was lodged in 300 shares of "Common capital stock." The merger agreement provided that the corporations were being "merged and consolidated" in accordance with the General Corporation Act of the State of Ohio; that the separate existence of the old company should cease and that the*238  petitioner should continue to exist as the "Consolidated Corporation." The agreement further provided:Article 4. The maximum number of shares which the Consolidated Corporation is authorized to have outstanding is Three Hundred (300) shares, all of which shall be Common shares with a par value of Two Dollars ($ 2.00) each.Article 5. The amount of capital with which the Consolidated Corporation will begin business is Six Hundred Dollars ($ 600.00).Article 6. The manner of converting the securities of the corporations, parties hereto, into the securities of the Consolidated Corporation shall be as follows:The shareholders of record of The Adolph Mayer Realty Company having agreed to subscribe and having subscribed proportionately according to their holdings of stock therein, to the entire authorized issue of Three Hundred (300) shares of capital stock and Two Hundred Ten Thousand Dollars ($ 210,000.00) face amount 6% Debentures of Cleveland Adolph Mayer Realty Corporation to be issued and delivered to them proportionately, as aforesaid, in exchange for the transfer by them to Cleveland Adolph Mayer Realty Corporation of all of *733  the issued and outstanding shares of capital*239  stock of The Adolph Mayer Realty Company, and said exchange having been effected and completed, Cleveland Adolph Mayer Realty Corporation shall cancel and surrender all of the issued and outstanding shares of capital stock of The Adolph Mayer Realty Company, and the former owners and holders of the issued and outstanding capital stock of The Adolph Mayer Realty Company having received proportionately shares of capital stock and debentures of Cleveland Adolph Mayer Realty Corporation, as aforesaid, said persons shall continue to hold the same share and debenture certificates which they now hold and such share and debenture certificates shall represent the entire authorized issued and outstanding stock and debentures of the Consolidated Corporation.The agreement also included a provision that pursuant to the Ohio General Code, sections 8623-68, all property of both corporations became vested in the petitioner and that the land, exclusive of improvements, "shall be taken and considered as having a fair minimum value of Two Hundred Fifty Thousand Dollars ($ 250,000.00)."On September 2, 1938, the secretary of the petitioner notified in writing the Central National Bank of Cleveland concerning*240  "the approaching expiration of the old company's charter" and the organization of the petitioner "with a capital structure consisting of 300 shares of the par value of $ 2.00 each and with a 6% Debenture issue in the aggregate amount of $ 210,000.00." The proposed merger of the old company and the petitioner was explained and the secretary further stated:The operation of the New Company will be precisely the same as that of the Old Company except that distributions to shareholders by way of dividends will be made only out of net earnings remaining after payment of interest to the debenture holders. The debentures provide for the monthly payment of interest and it is contemplated that the Directors will order dividends at intervals of two months so that there will be annually twelve interest distributions and probably six dividend distributions.The debentures are not issued under any indenture but, as in the case of the share certificates, are executed by the corporate officers and contain on the face of the debentures certain provisions for the protection of the debenture holders.Central National Bank of Cleveland had been acting as stock registrar, transfer agent, and fiscal *241  agent of the old company, and it was suggested that a somewhat similar arrangement should be entered into with the petitioner.On September 8, 1938, an agency agreement was entered into between the petitioner and the Central National Bank of Cleveland which was in effect through the years involved in this proceeding.  It provided, inter alia, that the bank should collect all rents and other payments due petitioner from the May Department Stores Co., and:* * * Out of the rents so collected the Agent may retain an amount sufficient to pay any taxes and assessments on the leased property, and other charges and expenses, to the extent that such taxes, assessments and other charges and expenses are not paid by the Lessee, and from the funds remaining shall pay *734  in monthly installments interest on the outstanding debentures issued by the Party of the First Part to the registered holders thereof as shown upon the register kept for that purpose by Party of the Second Part.  Any balance thereafter remaining shall be paid in periodical dividends as ordered and directed by the Board of Directors of the corporation to the shareholders of the Party of the First Part of record at the*242  time of any such dividend distributions. * * *The bank was charged with the duty of keeping proper records and preparing and filing income tax and franchise tax reports and with the duty of making payment of all such income and franchise taxes.  The bank was also required to act as registrar and transfer agent "for all corporate securities including shares of stock and debentures issued by the corporation."The form of debenture issued by petitioner was authorized by action taken at the first meeting of the shareholders held August 31, 1938.  A typical debenture (exhibit 8) reads as follows:Cleveland Adolph Mayer Realty Corporation, a corporation under the laws of the State of Ohio (hereinafter called the "Company"), for value received, hereby promises to pay to Margaret W. Namm or to the registered holder hereof, at the principal office of Central National Bank, in the City of Cleveland, State of Ohio, the principal sum of Thirty Five Thousand Dollars ($ 35,000.00) in legal tender of the United States of America on the 10th day of May, 1946, and to pay interest on said principal sum from August 31st, 1938, in like legal tender of the United States of America at the rate of Six *243  (6) per cent. per annum, such interest payable monthly on the 10th day of each calendar month following the date of issue hereof until said principal sum is fully paid.This Debenture is one of a series of Debentures aggregating the principal sum of Two Hundred and Ten Thousand Dollars ($ 210,000.00), and made by said Company.  All of said Debentures are uniform in date and tenor (differing only in number and face amount), and are issued by the Company and accepted by the holders thereof subject to, and are equally protected as to principal and interest by, the terms and conditions herein stated.  The Company covenants and agrees that until all of said Debentures shall have been paid or retired:(1) It will not (except with the written consent of the holders of three-quarters of the total face value of the then outstanding Debentures) place, or permit to be placed, any mortgage upon any of the real property owned by the Company;(2) Its corporate franchise will be maintained in full force and effect;(3) It will maintain, preserve and keep (or cause to be maintained, preserved and kept) all of its property in good condition and repair; and that it will promptly pay and discharge, or*244  cause to be paid and discharged, any and all lawful taxes and assessments upon its said property and every part thereof; and that it will at all times keep or cause to be kept all buildings and equipment located upon land owned by it insured against loss or damage by fire to the extent of at least eighty (80) per cent. of their fair value in good and responsible insurance companies;(4) In case the Company shall fail to pay (or cause to be paid) the cost of all necessary repairs and all taxes and assessments as aforesaid, or to keep (or cause to be kept) its property insured as aforesaid, the holder hereof, acting alone or together with one or more of the holders of other Debentures of this issue, may pay the cost of such repairs and the amounts of such taxes, assessments and premiums upon such insurance, and all sums of money so distributed, with *735  interest thereon at six (6) per cent. per annum, shall be payable by the Company on demand.The Company further covenants and agrees that the registered holders of the Debentures mentioned herein may at any time, by the unanimous written action of said holders, convert the said Debentures into fully paid capital stock of the Company*245  having a parity with the present authorized capital stock of the Company at the rate of one share of such capital stock for each full $ 100.00 face amount of Debentures. Should said conversion right be exercised, the Company shall proceed promptly to provide, by proper legal proceedings, the additional shares necessary to effectuate such conversion.The real estate owned by the Company is at the date hereof under lease to The May Department Stores Company, a New York corporation.  The holder hereof and the holders of other Debentures of this issue agree that should the term of said lease be extended beyond its present expiration date (April 28, 1946) or should the same be renewed either in its present form or other form satisfactory to the Company, then and in any such event the maturity hereof shall be extended and postponed for a period equivalent to the term (or terms) of any such extension (or extensions) or renewal (or renewals).At the time of petitioner's organization the property was under lease to the May Department Stores Co. for a period of 10 years beginning April 28, 1936, and ending April 27, 1946.  The lease called for an annual net rental beginning at $ 22,000 for*246  the first 5 years and increasing $ 100 each year thereafter until the end of the term.  At the option of the lessee, and upon 1 year's notice, the lease could be renewed for a period of 11 years at a net rental of $ 25,000 per year.  It was provided, however, that "such renewal shall not provide for any other renewal term."Petitioner's lessee, the May Department Stores Co., had not given notice to renew the lease up to the close of the taxable year 1942, but it did give such notice in April 1945, and the lease has since been extended for a period of 11 years.The fair market value of the real estate which was leased to the May Department Stores Co. on the date of the organization of the petitioner was in excess of $ 300,000 and of the approximate value of $ 365,000.For the taxable years 1940, 1941, and 1942 petitioner filed with the office of the Department of Taxation of the State of Ohio annual reports, as a domestic corporation for profit, showing the following data:194019411942Capital stock issued and outstanding$ 600.00$ 600.00$ 600.00Total assets311,385.49306,572.29301,958.21Total capital, surplus, undivided profits,and taxable reserves&nbsp;101,385.4996,572.2991,958.21*247  Petitioner's liabilities were reported in its return for 1942 (that filed with the Department of Taxation of the State of Ohio) at $ 301,958.21, *736  including bonds and mortgages $ 210,000, capital stock, common, $ 600, and surplus $ 91,358.21.Petitioner made payments to its debenture holders of $ 12,600 in each of the taxable years and claimed the deduction of those amounts in its returns as interest paid. The respondent has disallowed the deductions on the ground that the so-called debentures did not represent an indebtedness of the petitioner.OPINION.We consider first the question as to the right of the petitioner to deduct interest paid upon its debentures outstanding during the taxable years.  Section 23 of the Internal Revenue Code provides in material part as follows:SEC. 23. DEDUCTIONS FROM GROSS INCOME.In computing net income there shall be allowed as deductions:* * * *(b) Interest.  -- All interest paid or accrued within the taxable year on indebtedness, * * *The question presented is whether the outstanding debentures of the petitioner during the taxable years constitute indebtedness. The respondent submits that they do not.With regard to a similar question*248  we said in John Kelley Co., 1 T. C. 457:If the debentures have created an indebtedness the payments to the holders thereof are interest and deductible as expense, but if they are in fact capital stock the payments are dividends and not deductible.In that case the taxpayer had issued in 1937 "20 year 8% income debentures," having a maturity date, bearing interest to be paid out of earnings and not cumulative, subordinate to the claims of all creditors, superior to the rights of stockholders, subject to certain procedure for collection in the event of designated defaults as specified in the trust agreement, and holders having no right to participate in management of the corporation.  Part of the "debentures" was issued on subscription and the balance was issued in exchange for all of the taxpayer's outstanding preferred stock, which was retired.  We held that the payments made to the debenture holders as interest were deductible as interest.  Our decision in that case was reversed by the Circuit Court of Appeals for the Seventh Circuit, 146 Fed. (2d) 466, which was in turn reversed by the Supreme Court on January 7, 1946, 326 U.S. 521"&gt;326 U.S. 521.*249 Whether a debenture issued by a corporation constitutes an indebtedness or whether it is a share of capital stock must be resolved upon the facts of the particular case.  If the debenture holder has the rights merely of a stockholder, the issuance of the debentures does not create a debtor-creditor relationship.  There is a vital distinction between *737  a creditor relationship and a stockholder relationship.  The debenture holder is entitled to look to the obligor for payment of his debt at some definite date or at some date which will become definite upon the happening of some event.  A stockholder has a proprietary interest in the corporation.  In no real sense is he a creditor.  The property which he has paid into the corporation in return for his stock is at the risk of the business.  He is not entitled to receive any return upon his investment in the absence of earnings and those earnings will be distributed to the stockholders upon vote of the board of directors.  A creditor, on the other hand, has no proprietary interest.  He has no voice in the management.  He is entitled to receive interest upon his debt according to the terms of his debt obligation and the payment *250  of principal of the debt at maturity.There can be no question but that the debentures issued by the petitioner were intended to represent debt obligations by all parties concerned.  They gave the owner no rights of a stockholder. They were freely transferable independent of the stock. Interest upon them was payable monthly at all events and the principal was payable at maturity.The principal argument of the respondent that the debentures were not debt obligations is that they had no definite maturity date. One of the paragraphs of each debenture reads as follows:The real estate owned by the Company is at the date hereof under lease to The May Department Stores Company, a New York corporation.  The holder hereof and the holders of other Debentures of this issue agree that should the term of said lease be extended beyond its present expiration date (April 28, 1946 or should the same be renewed either in its present form or other form satisfactory to the Company, then and in any such event the maturity hereof shall be extended and postponed for a period equivalent to the term (or terms) of any such extension (or extensions) or renewal (or renewals).The respondent submits that by*251  reason of this provision of each debenture "the maturity date of the debenture herein is uncertain, which destroys its legality as evidence of indebtedness."The maturity date stated in each debenture is May 10, 1946.  At the time the debentures were issued in 1938 the petitioner's real estate was under lease to the May Department Stores Co. for a term ending April 27, 1946.  The lease carried an option which permitted the tenant a renewal or extension of the lease for a period of 11 years at an increased rental, but the lease provided that "such renewal shall not provide for any further renewal term."During the taxable years it could not be known whether the lease would be extended beyond April 27, 1946.  It has been stipulated, however, that in April 1945 the tenant elected to extend the lease at an increased rental of $ 25,000 per annum for a period of 11 years.  The exercise of this option by the tenant automatically extended the maturity *738  date of the debentures to May 10, 1957.  The petitioner submits that in any event the maturity of the debentures was not beyond May 10, 1957.We are not clear as to whether the execution of a new lease with the May Department Stores*252  Co. as tenant might operate to postpone the maturity date of the debentures beyond May 10, 1957.  But we are of the opinion that whether or not such a new lease would serve to postpone the maturity of the debentures, the fact that there might be such a postponement of the maturity date is not fatal to the petitioner's contention that these debentures constituted debt obligations of the petitioner.In H. R. DeMilt Co., 7 B. T. A. 7, debentures and common stock had been issued for the assets of an existing partnership.  The debentures fixed a maturity date, but contained a provision reading:* * * It Is Understood and Agreed that the payment of the principal of this debenture and of the other debentures of this series shall always be postponed to the prior payment in full of all other lawful debts and obligations of the Company.We held that the debentures represented evidences of indebtedness and could not be included in invested capital.In O. P. P. Holding Corporation, 30 B. T. A. 337; affd. (C. C. A., 2d Cir.), 76 Fed. (2d) 11, $ 250,000 of "Debenture Bonds" and $ 10,000 of capital stock were*253  issued in exchange for stock having a book value on the books of its issuer of $ 129,785.51, but fairly entered on the taxpayer's books at $ 260,000.  The debentures named a definite maturity date, but provided (1) that they were in all respects subordinate, both as to principal and interest, to the claims of all creditors, and (2) that the time of payment might be extended by action of two-thirds in amount of the debenture bonds outstanding. Hence, it followed that payment could not be enforced to the prejudice of creditors and to this extent the maturity time was not "certain"; and further that as to any particular bond the holder was bound to extend the maturity if other holders constituting two-thirds of the total so decided.  Factually, this meant that every bond outstanding could be extended if a two-thirds combination of holders so decided.  The debenture bonds were nevertheless held to constitute certificates of indebtedness and interest paid thereon was held to be a legal deduction from gross income.In National Grange Mutual Liability Co., 31 B. T. A. 666; affd. (C. C. A., 1st Cir.), 80 Fed. (2d) 316, "Guaranty Fund*254  units" were involved, concerning which we said:* * * The date for payment of the principal was not fixed, but could be fixed by the directors.  No feature of this fund which would be absolutely foreign to a debt upon which interest accrues has been called to our attention. * * **739  See also Staked Plains Trust, Ltd. v. Commissioner (C. C. A., 5th Cir.), 143 Fed. (2d) 421; Grant G. Simmons, 4 T.C. 478"&gt;4 T. C. 478; and Third Scottish American Trust Co., Ltd. v. United States, 37 Fed. Supp. 279.On the specific question growing out of the presence or absence of a fixed maturity date, Helvering v. Richmond, F. &amp; P. R. Co. (C. C. A., 4th Cir.), 90 Fed. (2d) 971, held that "guaranteed dividends" on "guaranteed stock" constituted deductible "interest on outstanding indebtedness" for which income tax deduction was allowable.  At page 973, the court said: "No maturity date" was "fixed upon which the investment * * * must be retired so long as the guaranteed dividends are paid." Yet, the court concluded:The fact that the principal of the guaranteed stock is*255  not demandable by the stockholder in the absence of default in the payment of the guaranteed dividends is not conclusive of a stock investment.  In the light of the other attributes of the stock, this indicates rather a debt as to which there is a right of renewal so long as the interest is paid when due.  There is nothing in the fact that the debt * * * is not payable at a fixed time which throws upon the holders thereof any of the risks with respect to the corporate enterprise which are characteristic of the position of the stockholder. * * *We think it plain in the instant case that the maturity date of the debentures was at least the termination of the date when the May Department Stores Co. should cease to be lessee of the petitioner's real estate. The principal was payable upon that date and not upon the liquidation or dissolution of the petitioner corporation.  For this reason we think that the respondent is in error in his claim that the petitioner's debentures were not debt obligations and that the interest paid on them was not deductible from petitioner's gross income for the taxable years by reason of the uncertainty of the maturity date of the debentures.In support *256  of his contention that the interest paid upon the debentures by the petitioner is not a legal deduction from gross income, the respondent relies principally upon 1432 Broadway Corporation, 4 T. C. 1158, wherein we held that amounts accrued by a corporation as interest on debentures issued to its shareholders with shares at the time of incorporation were "under the circumstances" not deductible as interest.  The circumstances which obtained in that case were:(1) Interest was payable only (a) by action within the uncontrolled discretion of voting trustees of the capital stock, (b) out of "surplus income," and (c) provided that cash or liquid investments were not less than $ 75,000.(2) The corporation's property had an apparent fair value of $ 1,200,000 and was subject to a real estate mortgage of $ 300,000.  The voting trustees had authority to sell the property for $ 1,200,000.  Against assets consisting of $ 900,000 net value of real estate plus $ 40,000 of cash the corporation authorized $ 1,500,000 of debentures *740  and actually issued initially $ 1,170,000.  In other words, there the debentures actually issued represented approximately 124.5*257  percent of the net value of the corporation's assets; the authorized debentures were the equivalent of approximately 160 percent thereof.(3) Debenture principal and interest were "subject and subordinate to the claims of all contract creditors" and upon liquidation nothing was due thereon "until all other contract creditors" were paid in full.(4) Interest could be temporarily deferred or suspended "without limit of time" and might be paid either in cash or in additional debentures.(5) No suit could be brought upon a defaulted debenture unless 75 percent in amount of the outstanding debentures were joined in such suit.(6) The corporation's accounting was on the accrual basis and the amounts for which deduction was claimed were merely "accrued" rather than actually paid, except only as to an inconsequential amount paid in one year.(7) Notwithstanding that "interest" was not being paid, at various times cash disbursements were actually made "to be applied pro rata in reduction of the principal of the debentures."(8) During the years involved the corporation had substantial deficits.(9) The voting trustees were empowered "in their discretion [to] elect to cause the corporation *258  to distribute surplus either as dividends or as interest or principal."Upon the above facts we reached the conclusion that the interest which had accrued upon the debentures but was unpaid was not a legal deduction from gross income. We said "these securities [debentures] are more nearly like preferred stock than indebtedness."The facts which obtain in the instant proceeding are not comparable to those in the 1432 Broadway Corporation case.  Here the interest was payable monthly at all events.  The debenture holders were in an entirely separate class from stockholders.The respondent further points out that the circumstances of the issuance of the debentures are such as to preclude the deduction of interest paid on the debentures. He submits first that the petitioner in 1938 was not interested in borrowing capital and that if it had desired to do so it could have borrowed it on a first mortgage at a rate of 5 percent or less.  He also submits that the consideration for the issuance of the debentures was the same as for the issuance of the stock, namely, the payment into the corporation of shares of stock of the old company, and that no particular amount of the contribution *259  was allocable to the debentures separate from the stock.We are of the opinion that these arguments have no valid bearing upon the question as to whether the petitioner's debentures constituted *741  indebtedness. It is immaterial that the petitioner was not interested in borrowing money at the time it issued the debentures. It surely can not be held that the shares of stock of the old company had no value.  A competent appraiser of real estate was of the opinion that the fair market value of the old company's real estate at the date of organization of the petitioner was $ 365,000.  We are satisfied that the fair market value was at least $ 300,000.  This was much in excess of the par value of the debentures issued, namely, $ 210,000.  The petitioner was as much bound to pay the debt called for by the debentures as it would have been if it had received $ 210,000 cash for them.We are also of the opinion that there is no merit in the respondent's contention that the stockholders of the old company paid in all of their property at the risk of the petitioner; in other words, that it was a capital contribution.  We think it clear from the debentures that they constituted a debt of*260  the petitioner.  Any excess of value of property paid into the corporation over $ 210,000 was a stockholder's contribution.The final contention of the respondent is that the issuance of the debentures was without a business purpose.  In making this contention the respondent relies upon J. Robert Bazley, 4 T.C. 897"&gt;4 T. C. 897; affd. (C. C. A., 3d Cir.), 155 Fed. (2d) 237. The question presented in that case was whether the taxpayer received ordinary income in 1939 to the extent of the face value of bonds of J. Robert Bazley, Inc., received by him in that year.  A subsidiary question was whether the transaction pursuant to which the bonds were transferred to Bazley constituted a tax-free reorganization. We held that a distribution to the taxpayer of debenture bonds, along with new common stock upon the surrender and redemption of old common stock of a corporation of which the taxpayer and his wife were virtually the sole stockholders, was not a reorganization resulting in a tax-free exchange, since there was lacking a true business purpose, and that the distribution of the bonds was essentially equivalent to the payment of a taxable *261  dividend under section 115 (g) of the Internal Revenue Code.  We have no such question before us in this proceeding.  We do not have the stockholders of the petitioner corporation before us as petitioners.  Our question is merely whether the debentures which were issued by the petitioner constituted indebtedness of the petitioner and whether the interest paid upon such debentures is deductible from gross income. We think that both questions require an affirmative answer.Whether or not the reorganization of the corporation effected in years prior to the taxable year was a reorganization within the meaning of the taxing act in effect in that year has no bearing upon this question.*742  Finally, it should be noted that the taxing statutes permit a corporation to deduct from its gross income "all" interest which it pays during the taxable year on indebtedness. In Old Colony R. Co. v. Commissioner, 284 U.S. 552"&gt;284 U.S. 552, the Court said:In short, we think that, in the common understanding, "interest" means what is usually called interest by those who pay and those who receive the amount so denominated in bond and coupon, and that the words of the statute*262  permit the deduction of that sum, and do not refer to some esoteric concept derived from subtle and theoretic analysis.If there were doubt as to connotation of the term, and another meaning might be adopted, the fact of its use in a tax statute would incline the scale to the construction most favorable to the taxpayer.  Gould v. Gould, 245 U.S. 151"&gt;245 U.S. 151; United States v. Merriam, 263 U.S. 179"&gt;263 U.S. 179; Bowers v. Lighterage Co., 273 U.S. 346"&gt;273 U.S. 346; United States v. Updike, 281 U.S. 489"&gt;281 U.S. 489; Burnet v. Niagara Falls B. Co., 282 U.S. 648"&gt;282 U.S. 648.For each of the taxable years the respondent has disallowed $ 4,397.94 of the $ 4,950 of depreciation which petitioner claimed on the building occupied by its lessee. The amount allowed by respondent in each year, $ 552.06, was based on the cost of the building to petitioner in 1915, $ 131,565.96, reduced by the depreciation "allowed or allowable" up to December 31, 1939, which he computed at $ 117,764.43.Up to the close of the year 1939 petitioner computed depreciation at the rate of 3 percent on a*263  cost basis of $ 165,000.  Petitioner now concedes that the correct cost base is $ 131,565.96.For a period of 3 1/2 years prior to 1939 petitioner did not claim and was not allowed any depreciation deduction whatever on the building.  For the taxable years 1940, 1941, and 1942 the respondent computed depreciation at the rate of 2 percent instead of 3 percent and petitioner does not contest that adjustment.  However, the respondent also adjusted the cost basis by deducting depreciation for the years when none was claimed, computed at the rate of 3 percent.  Petitioner concedes that respondent is correct in his determination that an adjustment must be made for depreciation for the prior years when none was taken, on authority of Virginian Hotel Corporation v. Helvering, 319 U.S. 523"&gt;319 U.S. 523. Petitioner contends, however, that the depreciation "allowable" for those years should be computed at the revised rate of 2 percent rather than at the old rate of 3 percent.The petitioner's contention on this point is in accordance with our decision in Mutual Fertilizer Co., 5 T. C. 1122.Decision will be entered under Rule 50.  HILL *264  Hill, J., dissenting: Petitioner is a closely held family corporation.  It was organized to hold title to patrimonial property and to distribute *743  the rental income therefrom.  Beyond that it is not an operating corporation.  It has even constituted an outside agent to perform all services in the collection of rents and to distribute the distributable portion thereof.  Its only source of income is rents under a term lease arrangement.The debentures which it issued proportionately to its stockholders are essentially preferred stock and not evidences of debt and hence confer upon the holders thereof proprietary interests in the corporate assets instead of giving them the status of creditors.The debentures, as of the time of their issuance, have no fixed or determinable maturity date. May 10, 1946, is specified as the maturity date thereof, with the proviso, however, that should the term of the existing lease "be extended beyond its present expiration date (April 28, 1946) or should the same be renewed either in its present form or other form satisfactory to the Company; then and in such event the maturity hereof shall be extended and postponed for a period equivalent *265  to the term (or terms) of any such extension (or extensions) or renewal (or renewals)."From such provisions in the debentures it is evident that the debentures are to run so long as rental income shall be received from the corporate property.  If, as, and when the property shall not be under lease, the debentures may be converted into common stock or redeemed with the liquidating proceeds of the corporate property.  Such redemption would be of the same character and with like priority as that of preferred stock. To me, the conclusion is inescapable that no other disposition of the debentures was or is contemplated.  If payment of the debentures as evidences of debt within the lifetime of the corporation were intended, a fixed and determinable maturity date would be provided for in the debenture agreement.  Such agreement would also provide for an accelerated maturity in the event of defalcations.Of course, the debentures could be redeemed by borrowing the money necessary therefor.  If this should be done, common business practice dictates the necessity for a deed of trust or other pledge of assets as security, with definite maturity dates, accelerated maturity provisions for defalcations, *266  and an agency outside the corporate officials to enforce the contract.  The latter arrangement would unquestionably result in an indebtedness in distinctive contrast to that under which the retired debentures were issued.  If a loan were negotiated for such purpose, a large part of petitioner's income would be paid out in interest to a person or persons other than the holders of proprietary interests in the corporate assets of petitioner.  Obviously, such distribution of income would not comport with the purpose of petitioner's financial setup.*744  My opinion is that the petitioner's financial structure was ingeniously designed and consummated to reap all the advantages incident to a corporate entity without the offsetting burden of corporation taxes.  I regret to see the stamp of approval placed on what, in my opinion, is a legalistic farce set up for the sole purpose of evading corporation income taxes by distributing its profits as deductible interest payments when in actuality such distributions are dividends. 